                             IN THE
                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY REID, RICARDO NATIVIDAD,             :
MARK NEWTON SPOTZ, RONALD GIBSON,            :
and JERMONT COX, on their own behalf         :
and on behalf of a class of similarly        :
situated persons,                            :
                                             :             CIVIL ACTION NO.
                                 Plaintiffs, :             18-CV-00176-JEJ
             v.                              :
                                             :             (Judge John E. Jones III)
JOHN E. WETZEL, Secretary of Corrections     :
of the Commonwealth of Pennsylvania,         :
ROBERT D. GILMORE, Superintendent of State :
Correctional Institution Greene, and         :
TAMMY FERGUSON, Superintendent of State :
Correctional Institution Graterford,         :             CLASS ACTION
                                             :
                                 Defendants. :


  PLAINTIFFS’ UNOPPOSED MOTION FOR CLASS CERTIFICATION
            AND APPOINTMENT OF CLASS COUNSEL

      Pursuant to Federal Rule of Civil Procedure 23 and Local Rules 23.1 et seq.

of this Court, Plaintiffs Anthony Reid, Mark Newton Spotz, Ronald Gibson,

Jermont Cox and Ricardo Natividad move for an Order (a) certifying this lawsuit

as a class action on behalf of all current and future death-sentenced prisoners in the

Commonwealth of Pennsylvania (“the Class”) and (b) appointing the undersigned

as Class Counsel. Defendants do not oppose this relief. The Court nonetheless

must be satisfied that Rule 23’s requirements are met. See Amchem Products, Inc.
v. Windsor, 521 U.S. 591, 619-20 (1997). For the reasons set forth below and in

the accompanying memorandum of law, they are.

      1.       Plaintiffs are five prisoners who have been sentenced to death in the

Commonwealth of Pennsylvania. As a matter of policy, based solely on their death

sentence, Pennsylvania holds Plaintiffs in permanent, degrading and inhumane

solitary confinement until their sentence is overturned or they die by execution or

of natural causes. Plaintiffs here sue the Secretary of Pennsylvania’s Department

of Corrections (“DOC”) and the Superintendents of the prisons where they are held

under 42 U.S.C. § 1983 and the Eighth and Fourteenth Amendments for injunctive

and declaratory relief to end the State’s baseless, cruel practices. They sue not just

for themselves but for a class of all current and future death-sentenced prisoners in

the Commonwealth.

      2.       Class certification is proper under Federal Rules 23(a), 23(b)(1) and

23(b)(2) and Local Rules 23.1 et seq. because:

               (a)   The Class members, while readily ascertainable, are so

      numerous that joinder of all members is impracticable.

               (b)   There are questions of law and fact common to the Class.

               (c)   The claims of the Plaintiffs are typical of the claims of the

      Class.




                                            2
                 (d)   The Plaintiffs will fairly and adequately represent and protect

       the interests of the Class.

                 (e)   Prosecution of separate actions by individuals would create

       risks of (i) inconsistent and varying adjudications that would establish

       incompatible standards of conduct for the Defendants, and (ii) substantially

       impairing or impeding the ability of other members of the Class to protect

       their interests. And,

                 (f)   The Defendants have acted or refused to act on grounds that

       apply generally to the class, so that final injunctive relief or corresponding

       declaratory relief is appropriate respecting the Class as a whole.

       3.        Proposed Class Counsel meet the criteria set forth in Federal Rule of

Civil Procedure 23(g)(1) and will fairly and adequately represent the interests of

the Class.

       The grounds for this Motion are more fully set forth in the accompanying

Memorandum of Law.

       WHEREFORE, Plaintiffs respectfully pray that the Court certify this action

as a class action on behalf of all current and future death-sentenced prisoners in the

Commonwealth of Pennsylvania and appoint the attorneys listed below as counsel

for the class.




                                             3
Dated:   March 29, 2018
                          /s/ Wilson M. Brown, III
                          Witold J. Walczak, PA 62876
                          ACLU OF PENNSYLVANIA
                          247 Fort Pitt Blvd.
                          Pittsburgh, PA 15222
                          Phone: (412) 681-7864
                          Fax: (412) 681-8707
                          vwalczak@aclupa.org

                          David Fathi, WA 24893*
                          Amy Fettig, DC 484883
                          Desiree Sholes, VA 92706*
                          ACLU NATIONAL PRISON
                          PROJECT
                          915 15th Street NW, 7th Floor
                          Washington, DC 20005
                          Phone: (202) 393-4930
                          Fax: (202) 393-4931
                          dfathi@aclu.org
                          afettig@aclu.org
                          dsholes@aclu.org

                                *Not admitted in DC; practice
                                limited to federal courts

                          Bret Grote, PA 317273
                          Jamelia N. Morgan, NY 5351176
                          ABOLITIONIST LAW CENTER
                          P.O. Box 8654
                          Pittsburgh, PA 15221
                          Phone: (412) 654-9070
                          bretgrote@abolitionistlawcenter.org
                          jamelia@alcenter.org

                          Jonathan H. Feinberg, PA 88227
                          Susan M. Lin, PA 94184
                          KAIRYS, RUDOVSKY, MESSING,
                          FEINBERG & LIN LLP
                          The Cast Iron Building

                           4
 718 Arch Street, Suite 501 South
 Philadelphia, PA 19106
 Phone: (215) 925-4400
 Fax: (215) 925-5365
 jfeinberg@krlawphila.com
 slin@krlawphila.com

 Barry Gross, PA 21563
 Wilson M. Brown, III, PA 25846
 Mira E. Baylson, PA 209559
 Mark D. Taticchi, PA 323436
 DRINKER BIDDLE & REATH LLP
 One Logan Square, Suite 2000
 Philadelphia, PA 19103
 Phone: (215) 988-2700
 Fax: (215) 988-2757
 Barry.Gross@dbr.com
 Wilson.Brown@dbr.com
 Mira.Baylson@dbr.com
 Mark.Taticchi@dbr.com


Attorneys for Plaintiffs




  5
       CERTIFICATE OF CONCURRENCE PURSUANT TO LR 7.1

      I, Wilson M. Brown, III, hereby certify that counsel for the Defendants was

contacted about Defendants’ possible concurrence in this Motion, and counsel for

Defendants indicated that Defendants concurred with the relief sought herein.



                                            /s/ Wilson M. Brown, III
                                            Wilson M. Brown, III

                                            One of the Attorneys for Plaintiffs




                                        6
                          CERTIFICATE OF SERVICE

      I, Wilson M. Brown, III, hereby certify that on March 29, 2018, a copy of the

foregoing Motion for Class Certification and Appointment of Class Counsel was

filed electronically. Notice of this filing will be sent to all parties who have appeared

in this action via the Court’s electronic filing system. Parties may access this filing

through the Court’s system.



                                               /s/ Wilson M. Brown, III
                                               Wilson M. Brown, III

                                               One of the Attorneys for Plaintiffs
